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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK
                                  MANHATTAN DIVISION

                                CASE NO.: 1:23-cv-03146-LGS

 ZURU INC.,

                Plaintiff,

 v.

 THE INDIVIDUALS, PARTNERSHIPS,
 AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON
 SCHEDULE "A",

                Defendant.


      NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE OF CERTAIN
                             DEFENDANTS

        Plaintiff ZURU INC., by and through its undersigned counsel, and pursuant to Fed. R.

Civ. P. 41(a)(1)(A)(i), hereby dismisses the instant action without prejudice as against the

following Defendants identified on Schedule “A” to the Complaint as follows:

            Doe Number                Merchant Name
            1                         Shop5047346 Store
            2                         Shop1102086522 Store
            3                         Shop5077189 Store
            4                         Shop4886009 Store
            5                         Shop4987124 Store
            6                         JMY Disney toys Store
            7                         Glitter Cardstock Crafts Store
            8                         12 Dresser Store
            9                         Joy-Toys Dropshipping Store
            10                        Xiyou Party Supply Store Store
            11                        CEAKJ Festival Decoration Store
            12                        Shop1102134764 Store
            13                        good supplier Store
            14                        Nansheng Workshop Store
            15                        OLOEY POP Store


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 16                    Shop911418068 Store
 17                    Weekend Toy Monopoly Store
 18                    Ordinary Life Up Store
 19                    MHORLX Store
 20                    Shop910716127 Store
 21                    QINGQIU Toys Store
 22                    Children Plush Toys Store
 23                    An Ant Store Store
 24                    Adult Life ww Store
 25                    Shop912517005 Store
 26                    Dear Baby Store Store
 27                    Pixel VV Store
 28                    H Brain Game Store
 29                    Shop1102110386 Store
 30                    Shop1102141071 Store
 31                    Shop1102251188 Store
 32                    Shop912406443 Store
 33                    MaiMai Home Store
 34                    Bear Dollhouse Store
 35                    Amoy Baby-YISA Store
 37                    KTDDTK
 38                    It's Deals Time
 39                    Thumb Up Trading
 40                    baigouxinchengpinchanriyongbaihuoshanghang
 41                    CIBEL
 42                    YQEOCO
 43                    Frshopcom
 47                    zhijiangshimiaochengshangmaoyouxiangongsi
 48                    Instyle beauty boutique
 50                    muyunwangluokeji
 51                    GeekNi
 52                    Nuovonsion
 54                    Daqian Shijie
 55                    SYBATZ
 56                    SgoyiU(Fast Shipping 6-12 Days )
 57                    BCHENG
 58                    Jinyueliang
 59                    AJC official
 61                    Madi shop
 62                    nengyingus
 63                    OvOzzzzz
 64                    yilufa shangpu
 65                    kisampo

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 66                    Zhoukundqwedqwd
 67                    Vinsingo
 69                    Xuyama
 70                    Hoejtol-MG
 71                    HYJSM-US
 72                    sumianmaoyi
 73                    Margo D
 75                    jinhanhongyuan
 77                    A20TN17LT9NGS
 78                    WenWink
 79                    yayachunhao
 80                    YanYouFan
 81                    A'MIG
 82                    Megan_Jiang
 83                    Ndgdjs
 84                    chenyubaihuogongsi
 85                    Lexinan
 86                    XY-US1
 87                    Rayyar
 89                    LIBRNTY
 90                    Hapther
 91                    QDTee
 92                    YSCENL
 93                    LuLiuGongSi
 94                    Narwin Zone
 95                    wuzhixian
 96                    QYEURHome
 98                    Lawzl
 99                    SHOWV
 100                   Fssq-ga
 102                   YOMOTREE US
 104                   LOIIYHTTR
 105                   caizibjhmkk
 106                   A3VVYN2DR4MJK2
 107                   Xppower
 109                   LIUXIYA
 110                   Lammii
 111                   moufier
 112                   coscoach
 114                   YC mango
 115                   ANNAMILADirect
 116                   Lauyoung
 117                   Bsadjioqa

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Dated: June 20, 2023                     Respectfully submitted,

                                         /s/ Joel B. Rothman
                                         JOEL B. ROTHMAN
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